JS44        (Rev. l0/20)
                                                                                                      CIVI               COVER SHEET

                of initiating the civil docket sheet. (sliti tN,\IRU(1                        toNS       oN Ntixt t'A(iti ot; l   Hts t<)RM.)
      (a) PLAINTIFFS                                                                                                                           DEFENDANTS
           Mary Towanda Webster-Reed et                     individually and as                                                                Scott Anthony Collins, et al.
           heir to Brandon Lovell Webster
      (b) County of Residence of First Listed Plaintif'f BrUnSWiCk                                                                             County of Residence of First Listed              Deflndant COIUmbUS COUntV
                                          (l;^T:lil'1   1N (t.s. PLAIN',l1l;l| ('AS1;S)                                                                                    (tN It.s. l,l,AtN7Lt,1; ('AStis oNt,Y)
                                                                                                                                               NO'1E:          lN LAND CONDEMNATION CASES. USE l'HE LOCATION OF
                                                                                                                                                               THETRACTOFLANDINVOLVED,                      -
      (C)       Attorneys (1.'irn Nane,     Atlclress, ont!        'l
                                                                        elephone Ntrnbar)                                                       Attorneys (lf Knovn)
                lra Braswell lV, P.O. Box 703, Louisburg, NC,
                91 9623541 3

 II.      BASIS OF JURISDICTION                                    Q)toce an ".\"' in one Rox onty)                             II. CITIZENSHIP OF PRINCIPAL PARTIES                                             (Ptac'c    an "X" in onc Rox./i,r t'tqintill'
                                                                                                                                           (lbr l)ircrsitv     (:qsc.\ Onb')                                .    qnd One Box      lbr,rur#{,,
! t         u.s. Govemrnent                     @:           Federal Question                                                                                                  PTF     DEF                                                        ,""
               Plaintiff                                       ((1.5. Oorcrntrcnt Nol o l'drt.y)                                   Citizen   oflhis     Stat"              E     I
                                                                                                                                                                                     !r        IncorporatedorPrincipalPlace
                                                                                                                                                                                                 ofBusiness In This State
                                                                                                                                                                                                                                           [    + [+

f]z         u.s. Govemrnent
                Defendmt
                                               [+            Diversity
                                                               (lnchcotc      ('itrensltilt   tl   I'urties in lten   lll)
                                                                                                                                   Citizen of Another         State        !     Z   lz        Incorporated aarl Principal
                                                                                                                                                                                                  ofBusiness ln Another State
                                                                                                                                                                                                                              Place [] s !               s



                                                                                                                                   Citizen or Subject        ofa           ! :       !-r       ForeignNation                               !    o [o

IV. NATURE OF SUIT                                          on "X" in One        Bos   Onlv)                                                                                    Click here for:

l-l   I   lo In.r.un"e                            PERSONAL       INJURY        PERSONAL INJURY                                             5 Drug Related Seizure                    422 Appeal 28 USC    158              375 False Clairns Act
I I l2o Ma.in.                                    3 |   Airplane
                                                        0                 fl 365 Personal hrjury -                                           ofProperty 2l USC           881         423 Withdrawal                        376 Qui Tam (3 I USC
Ll r30 Miller Acr                                 3 I 5 Airplane Product            Product Liability                                                                                    28 USC 157                            3729(a))
L-l   140   Negoriable Inshurnent                        Liability        E 367 Health Care/                                                                                                                               400 State Reapportionrnent
!     150 Recouery       ofoverpayrnent           320 Assault. Libel &             Phannaceutical                                                                                                                          410 Antitrust
            &   Enforcernent   of                        Slander                   Personal lrrjury                                                                                  820 Copyrights                        430 Banks and Banking
! t5l Medicare Act                                330 Federal Ernployers'          Product Liability                                                                                 830 Patent                            450 Comrnerce
! I 52 Recovery ofDefaulted                              Liability        [ 368 Asbestos Personal                                                                                    835 Patent - Abbreviated              460 Deportation
             Student Loms                         340 Mrine                         Injury Product                                                                                       New Drug Application              470 Racketeer Influenced and
             (Excludes Veterans)                  345 Marine Product                Liability                                                                                        840 Tradernark                            Corupt Organizations
fl    ls3 Recovery olOverpayment                         LiAbiIitY          PERSONAL PROPERTY                                                                                        880 Defend Trade Secrets              480 Consurner Credit
          ofVeteran's Benefits                    .350 Motor Vehicle      [ 320 Orher Fraud                                           7   l0 Fail Labor      Standards                   Act of20l6                            (15 USC 168l or 1692)
fl 160 Stockholders' Suits                        355 Motor Vehicle       f_l :U t truth in Lending                                          Act                                                                           485 Telephone Consurner
E 190 Other Contract                                    Product Liability ! 380 Otlrer Personal                                       720 Labor/Managernent                                                                     Protection Act
fl 195 Contract Produo Liatriliru                 360 Other Personal               Property Darnage                                          Relations                               861 HrA (1395f0                       490 Cable/Sat TV
f ] 196 Franchise                                       Irrjury           ! 385 Property Darnage                                      740 Railway Labor Act                          862 Black LveO23)                     850 Securities/Cornrnodities/
                                                  362 Personal Injury -            Product Liability                                  75 I Farnily and Medicai                       863 DIWC/DIww (40s(g))                    Exchange
                                                                                                                                           Leave Act                                 864 SSID TitIE XVI                    890 Other Statutory Actions
                                                                                                                                      790 Other Labor Litigation                     86s RSI (40s(g))                      891 Agricultural Acts
                                                  440       Other Civil Rights                     Habeas Corpus:                     791 Ernployee Retirernent                                                            893 Enviromnental Matters
      220 Foreclosure                             441       Voting                                 463 Alien Detainee                        Ilcorue Security Act                                                          895 Freedorn of Infonnation
      230 Rent Lease & Ejectrnent                 442       Ernployrnent                           5 I 0 Nlotiotrs to Vacate                                                         870 Taxes (U.S. Plaintiff                  Act
      240 Tofts to Land                           443       Housing/                                   Sentence                                                                          or Defendant)                     896 Arbitration
      245 Tort Product Liability                            Accorlmodations                        530 General                                                                       871 IRS-Third Party                   899 Adrninistrative Procedure
      290   All Other Real     Property           445 Arner. w/Disabilities -                      535 Death Penalty                                                                      26 USC 7609                          Act/Review or Appeal      of
                                                      Enrployrnent                                 Other:                            462 Naturalization Applicati                                                              Agency Decision
                                                  446 Atner. w/Disabilities                        540   Mandarnus    & Other        465 Other Inrrnigration                                                               950 Constitutionality of
                                                      Othet                                        550   Civil Rights                        Actions                                                                           State Statutes
                                                  448 Education                                    555   Prison Coldition
                                                                                                   560   Civil Detainee -
                                                                                                         Conditions of
                                                                                                         Confinernent
V. ORIGIN (Ptoceun "^"' in (rrc llor Onl),
p1I Original t-12
               .- Rernoved fiorn                                              - 3
                                                                              Lr         Remanded ftorn                      [l 4 Rernstated       or        T-t
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                                                                                                                                                                                             tl Multidistrrct L-8t                      Multidistrict
            Proceeding                    State Court                                    Appellate Court                          Reopened                         Another Drstnct              Litigatiorr                             Litigation -
                                                                                                                                                                   (specify)                    Transf'er                               Direct File
                                                              the U.S. Civil Statute under which you are filing (Do not citejurisdictionul statutes uuless diyersii)
                                                                     Acts of 1 866 &1871: 42 USC 1983
VI.        CAUSE OF ACTION
                                                    Brief description of cause:
                                                    The Decedent, Brandon L. Webster was wrongfully killed by the defendant during an unlawful traffic stop.
VII.         REQUESTED IN                          E          CUECT IF THIS IS A CLASS                          ACTION               DEMAND              $                                 CHECK YES only if demanded in complarnt:
            COMPLAINT:                                        UNDER RULE 23, F.R.Cv.P                                                 $20,000,000.00                                       JLJRY      DEMAND: []Yes ENo
vrrr.           RELATED CASE(S)
                                                            (See   in.\tuctioil.t).
             IF ANy                                                                                                                                                                  DOCKET NUMBER



FOR OFFICE USE ONLY

      RECEIPT#                            AMOUNT                                                         APPLYING IFP                                                                                   MAG. JUDGE


                                           Case 7:20-cv-00248-FL Document 1-1 Filed 12/15/20 Page 1 of 1
